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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


    DC CENTER FOR INDEPENDENT
    LIVING, et al.,

          Plaintiffs,

          v.                                             Civil Action No. 1:22-cv-03541-JMC

    DISTRICT OF COLUMBIA, et al.,

          Defendants.


                                                ORDER

         Pursuant to Federal Rule of Civil Procedure 26(c), and it appearing that discovery in this

action is likely to involve the disclosure of confidential information, it is ORDERED that the

following shall govern the Parties’ exchange and use of materials1 containing confidential

information during the pendency of this action, including any appeals.

                CONFIDENTIAL INFORMATION SUBJECT TO THIS ORDER

    1.   The Parties may treat the following categories of information as CONFIDENTIAL

         INFORMATION under this Order:

               a. Personal information, including, but not limited to, an individual’s home address,

                  telephone number, date of birth, social security number, information that pertains

                  to an individual’s financial affairs and health (physical or mental), an individual’s

                  life and health insurance information, and/or any other personal information

                  unique to an individual;




1
        The term “materials” as used in this Order is intended to encompass all documents and
electronically-stored information discoverable under the Federal Rules of Civil Procedure.
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        b. Non-public information contained in an employee or former employee’s

            personnel file, disciplinary file, and/or adverse action file;

        c. Other information protected by or specifically prohibited from release by statute

            or regulation; and

        d. Other non-public information that a producing party reasonably and in good faith

            determines should be subject to the terms of this Order because the disclosure

            would harm its interests.

       TIMING AND DESIGNATION OF CONFIDENTIAL INFORMATION

2.   Any producing party wishing to designate materials as containing CONFIDENTIAL

     INFORMATION, subject to the protections of this Order, shall at the time of production

     stamp or otherwise mark (designate) the material with the word(s) “CONFIDENTIAL”

     or “CONFIDENTIAL INFORMATION.” The party who provides the materials and

     marks said materials “Confidential” shall be referred to as the Designating Party. The

     party who receives materials from other side that were marked “Confidential” shall be the

     “Receiving Party.”

3.   Unless a different procedure is agreed upon by the Parties in writing, a party designating

     data from a database as CONFIDENTIAL shall do so by exporting the data in XLS

     format or other format supported by Microsoft Excel (data export) and designating within

     the data export the specific field(s) that contain CONFIDENTIAL INFORMATION.

     Data included within the field(s) designated according to this Paragraph as well as

     compilations, subsets, or other reproductions of such data that contain CONFIDENTIAL

     INFORMATION shall be considered CONFIDENTIAL materials under this Order.




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4.      Any party wishing to designate materials provided by a non-party as CONFIDENTIAL

        shall submit to the other party, within 20 business days of receipt of the materials, written

        notice of the party’s intent along with a copy of the materials designated according to

        Paragraph 2 or 3, as applicable. During the 20 business days following production by a

        non-party, all such materials shall be deemed CONFIDENTIAL, subject to the

        protections of this Order, to allow the Parties time to review the materials for

        CONFIDENTIAL INFORMATION.

                     HANDLING OF CONFIDENTIAL INFORMATION

     5. Materials designated CONFIDENTIAL under this Order shall not be disclosed by any

        party for any purpose other than discovery and trial in this action and any appeal, except

        as provided in this Order.

6.      Materials designated as CONFIDENTIAL may only be disclosed or made available to:

           a. Counsel who are attorneys of record, including their partners, associates,

               associated counsel, paralegals, and clerical staff;

           b. The named Parties, including their officers, employees, and agents who are

               decisionmakers for purposes of the litigation;

           c. Individuals who authored, produced, or received the materials designated as

               CONFIDENTIAL in the normal course of business apart from the litigation;

           d. Any mediator that the Parties engage in this matter or that this Court appoints;

           e. Experts employed by the Parties or their counsel for consultation or to render

               expert opinions in accordance with Fed. R. Civ. P. 26(a)(2), including any

               necessary clerical or other associated personnel of such experts;

           f. Technical consultants or vendors retained by a party to handle discovery;



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         g. Court personnel, including certified court reporters;

         h. Any potential witness who counsel for a party in good faith believes may be

             called to testify at trial or deposition in this action; and

         i. Other persons, only by express written agreement of the Parties.

7.    Before a party provides materials designated as CONFIDENTIAL to any of the persons

      identified in Paragraph 6(d), 6(e), 6(f), 6(h) and 6(i), the party shall inform the intended

      recipient of the party’s obligations under this Order, and the intended recipient shall sign

      a statement acknowledging agreement to the terms, in the form of Exhibit A.

                 CONFIDENTIAL INFORMATION AT DEPOSITIONS

8.    Only the individuals listed in Paragraph 6, the witness, and his or her attorney may be

      present at an examination concerning materials designated as CONFIDENTIAL.

      Individuals attending such an examination shall comply with the requirements of

      Paragraph 7, as applicable.

9.    A party may designate as CONFIDENTIAL any information, testimony, or exhibit

      disclosed or obtained during a deposition that the party reasonably believes meets the

      definition of CONFIDENTIAL INFORMATION in Paragraph 1, by indicating on the

      record that such material is CONFIDENTIAL and subject to the provisions of this Order.

      Whenever any material designated as CONFIDENTIAL is marked as an exhibit during a

      deposition, the exhibit shall be separated from non-confidential exhibits and separately

      bound, unless the Parties agree otherwise in writing prior to the deposition or at the

      deposition on the record.

10.   The party presenting materials previously designated as CONFIDENTIAL at a deposition

      or designating information as CONFIDENTIAL during the deposition is obligated to



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      inform the court reporter of the procedures for handling CONFIDENTIAL

      INFORMATION under this Order.

11.   Any party who objects to the designation of material as CONFIDENTIAL during a

      deposition must note the objection on the record. The CONFIDENTIAL designation

      shall remain in place, and the objecting party shall not publicly disclose the information,

      testimony, transcript, or exhibit designated as CONFIDENTIAL, without prior approval

      of the Court or withdrawal of the designation by the designating party.

12.   All deposition transcripts shall be treated as CONFIDENTIAL under this Order for a

      period of 30 days after the transcript first becomes available on a non-expedited basis to

      allow the Parties time to review the transcript for CONFIDENTIAL INFORMATION

      and inform the court reporter (with a copy to the other Parties) of the pages and lines or

      exhibits to be designated as CONFIDENTIAL. The passage of this 30-day period shall

      not prohibit a party from later designating information as CONFIDENTIAL; however, if

      such a designation is challenged by motion to the Court or other court-approved

      procedure, the party allowing the 30 days to pass without designating the information as

      CONFIDENTIAL will bear the burden of showing that the information has not become

      part of the public domain. Information designated as CONFIDENTIAL during a

      deposition does not lose its confidential designation by the passage of the 30-day period

      described in this Paragraph.

13.   Deposition transcripts, testimony, or exhibits designated as CONFIDENTIAL shall only

      be disclosed to the witness, his or her attorney, and individuals identified in Paragraph 6,

      subject to the requirements of Paragraph 7.




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                  CONFIDENTIAL INFORMATION IN COURT FILINGS

14.   Materials designated as CONFIDENTIAL under this Order do not lose their designation

      by virtue of being subsequently filed with the Court by any designating party, non-

      designating party, or a third party, regardless of the form of the submission to the Court,

      unless so ordered by the Court

15.   A party seeking to file a document that includes, quotes, or summarizes

      CONFIDENTIAL INFORMATION shall file a motion to seal pursuant to LCvR 5.1 and

      the procedures governing e-filing sealed documents in unsealed cases set out on the

      Court’s website at https://www.dcd.uscourts.gov/e-filing-sealed-documents-unsealed-

      cases. If a receiving party seeks to file a document designated as confidential, the

      receiving party may file a redacted version upon written agreement of the designating

      party.

                  CONFIDENTIAL INFORMATION IN OPEN COURT

16.   Materials designated as CONFIDENTIAL under this Order do not lose their designation

      by virtue of being subsequently offered in open court by any non-designating party or

      third party, regardless of the form of the presentation to the Court. If a designating party

      inadvertently offers materials designated as CONFIDENTIAL in open court, the

      designating party may move to seal such materials.

17.   The use of CONFIDENTIAL INFORMATION during a hearing, trial, or otherwise in

      open court shall be subject to such protections as the Court shall determine. If a party

      intends to introduce materials designated by another party as CONFIDENTIAL, the

      introducing party shall be responsible for taking appropriate measures with the Court to

      maintain the confidentiality of the information. Wherever practicable, the Parties shall



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      confer about the introduction of CONFIDENTIAL material in open court prior to a

      hearing or trial where a party anticipates introducing such information.

              CHALLENGES TO CONFIDENTIALITY DESIGNATIONS

18.   If any party disagrees at any stage of this action with the designation of any information

      as CONFIDENTIAL, the Parties shall first try to resolve the dispute in good faith

      informally. Any receiving party may at any time request that the producing or

      designating party withdraw the CONFIDENTIAL designation with respect to any

      material. Any such request shall be made in writing, served on counsel for the producing

      or designating party, and shall identify: (a) the CONFIDENTIAL INFORMATION that

      the receiving party contends is improperly designated; (b) the basis for the receiving

      party’s objection(s) to the designation; and (c) three alternate dates and times within two

      weeks of the notice that the receiving party is available to confer regarding the challenged

      designation.

19.   If the Parties cannot resolve their dispute informally, the receiving party may object to

      the designation by utilizing the procedure for bringing discovery disputes to the Court’s

      attention as set forth in the Court’s standing order or, if no such procedure is specified, by

      motion to the Court under Federal Rule of Civil Procedure 37. The burden of proving the

      confidentiality of the designated materials under the terms of this Order shall be borne by

      the party that produced the materials and/or designated them CONFIDENTIAL. If a

      dispute is brought to the Court for resolution pursuant to this Paragraph, the initial

      confidentiality designation shall remain in place until the Court resolves the matter and

      thereafter shall be governed by the Court’s ruling.




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20.   The receipt or use by any party of any material designated CONFIDENTIAL without

      challenging the confidentiality designation shall not constitute evidence, an admission, or

      a concession that the material is in fact CONFIDENTIAL under the terms of this Order.

           NON-APPLICABILITY TO CERTAIN MATERIALS AND USES

21.   Nothing in this Order shall preclude any party to the action, their attorneys, or any other

      person from disclosing or using, in any manner or for any purpose, any material in the

      public domain, if such information is lawfully obtained from another source.

22.   Notwithstanding the terms of this Order, the Parties and their attorneys may use and

      disclose their own materials in any manner or for any purpose, without restriction.

23.   Nothing in this Order shall preclude any party to this action, their attorneys, or any expert

      retained by a party from using materials or data designated as CONFIDENTIAL to

      prepare compilations, subsets, opinions, or other reproductions or summaries that do not

      reveal CONFIDENTIAL INFORMATION. Such compilations, subsets, opinions, or

      other reproductions or summaries that do not reveal CONFIDENTIAL INFORMATION

      shall not be subject to the terms of this Order and may be disclosed or used by the Parties

      and their attorneys, in any manner and for any purpose.

24.   Nothing in this Order shall preclude a party who has designated materials or data as

      CONFIDENTIAL under this Order from authorizing an otherwise prohibited disclosure

      or use of the CONFIDENTIAL materials or data, so long as the authorization is provided

      in writing by the designating party or the party’s attorney. Where the District of

      Columbia is the designating party, the authorization contemplated by this Paragraph may

      be provided by the Deputy Attorney General for the Civil Litigation Division of the

      Office of the Attorney General or his/her designee.



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                 NON-WAIVER OF PRIVILEGES AND OBJECTIONS

25.   Nothing in this Order shall be deemed a waiver of any right to object on any ground to the

      admission in evidence of any material designated as CONFIDENTIAL.

26.   The entry of this Order shall not constitute a waiver by any party of any objection to the

      disclosure or production of any information or material during discovery, nor shall this

      Order be construed to require the production of CONFIDENTIAL INFORMATION that

      is protected from disclosure.

27.   Notwithstanding the terms of this Order, the Parties may redact information from

      materials prior to disclosure, without affecting the designation of such materials as

      CONFIDENTIAL.

                              INADVERTENT DISCLOSURE

28.   The inadvertent disclosure of material that a party reasonably believes should have been

      designated as CONFIDENTIAL under this Order or that is otherwise protected from

      disclosure by the attorney-client privilege, the work-product doctrine, or any other

      applicable privilege, immunity, or protection shall not constitute a waiver of the

      protections of this Order or of any privilege, immunity, or protection, provided that the

      disclosing party notifies the receiving party in writing of its intent to claw back the

      inadvertently disclosed material within ten days of discovering the inadvertent disclosure.

29.   The following procedures shall govern the handling of inadvertently disclosed material

      after notice of the inadvertent disclosure satisfying the requirements of Paragraph 28 is

      made.

         a. Immediately upon receipt of notice concerning an inadvertent disclosure, and

              until the inadvertently disclosed material is returned or destroyed (as described



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             immediately below), the receiving party shall treat the material as

             CONFIDENTIAL under this Order.

         b. Within three days of receiving notice of an inadvertent disclosure, the receiving

             party shall return or destroy the inadvertently disclosed material and notify the

             disclosing party in writing of the material’s return or destruction.

         c. Within ten days of receiving the notice that inadvertently disclosed material has

             been returned or destroyed, the disclosing party shall reproduce to the receiving

             party a copy of the inadvertently disclosed material, in whole or in part, consistent

             with the designation of confidentiality under this Order or the disclosing party’s

             assertion of privilege, immunity, or other protection. If the disclosing party

             intends to withhold the material in its entirety, the disclosing party shall, within

             the same time, notify the receiving party in writing of its intention, including in

             the notice a description of the material and a sufficiently detailed explanation of

             the grounds to allow the receiving party to assess the claim of privilege,

             immunity, or other protection.

30.   So long as a disclosing party timely complies with the procedures outlined in Paragraphs

      28 and 29, no receiving party shall assert inadvertent disclosure as a basis for compelling

      the production of the inadvertently disclosed material, and no motion seeking the

      production of inadvertently disclosed material shall describe the material’s contents in

      any way that would diminish or destroy the privilege, immunity, or protection asserted by

      the disclosing party.

31.   If a party is in receipt of material that it has reason to believe was inadvertently disclosed

      because it appears to contain information that is subject to protection under the terms of



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      this Order or a claim of privilege, immunity, or other protection, the party shall take

      reasonable steps to notify the disclosing party so that the disclosing party may make a

      determination of whether such material was inadvertently disclosed.

                              MISCELLANEOUS PROVISIONS

32.   This Order shall be binding upon the Parties, upon their attorneys, and upon the Parties’

      and their attorneys’ successors, executors, personal representatives, administrators, heirs,

      legal representatives, assigns, subsidiaries, divisions, officers, directors, employees,

      agents, and independent contractors, and other persons or organizations over which they

      have control.

33.   The terms of this Order shall survive the final termination of this litigation and shall

      continue to apply to all CONFIDENTIAL INFORMATION that has not properly become

      a matter of public record. Following final termination of this litigation, the Court shall

      retain jurisdiction over the Parties and all persons who received CONFIDENTIAL

      INFORMATION during the course of this action, solely for the purpose of enforcing this

      Order.

         a. Within 30 days after either a final order disposing of all claims against all parties

               in this case is entered and the time for filing an appeal has expired without an

               appeal having been noted, or an order is entered dismissing this case upon the

               joint request of the Parties, or upon the conclusion of any Court-approved

               settlement agreement, Consent Decree, or Consent Judgment, the Designating

               Party may make demand upon the receiving party for return or destruction of all

               materials considered CONFIDENTIAL INFORMATION under this Order,

               including “copies” as defined above. No party shall have any obligation to return



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     or destroy CONFIDENTIAL INFORMATION if such a demand is not timely

     made. The terms of the protective order continue to apply to CONFIDENTIAL

     INFORMATION produced during this litigation regardless of whether a

     designating party demands the return or destruction of Confidential Information

     under this order. No party shall be obligated to destroy or return pleadings,

     attorney work-product, and litigation documents, including deposition and other

     transcripts, containing CONFIDENTIAL INFORMATION, interrogatory

     responses, or emails or written correspondence containing, summarizing,

     referencing, or attaching CONFIDENTIAL INFORMATION. Where the demand

     for return or destruction is timely made, the subject documents shall be returned

     to the producing party unless: (1) the document has been offered into evidence or

     filed without restriction as to disclosure; (2) the parties agree to destruction to the

     extent practicable in lieu of return; or (3) as to documents bearing the notations,

     summations, or other mental impressions of the receiving party (i.e., attorney

     work product), that party elects to destroy the documents and certifies to the

     producing party that it has done so; or (4) to the extent retention is required by

     other laws, rules or regulations. The parties may choose to agree that the

     receiving party shall destroy documents containing CONFIDENTIAL

     INFORMATION and certify the fact of destruction, and that the receiving party

     shall not be required to locate, isolate and return e-mails (including attachments to

     e-mails) that may include CONFIDENTIAL INFORMATION or

     CONFIDENTIAL INFORMATION contained in deposition transcripts or drafts

     or final expert reports.



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34.   If a party seeks discovery from a third party to this action, the third party may invoke the

      terms of this Order by providing notice in writing to all Parties and producing any such

      discovery in according with the Order.



Date: August 5, 2024
                                                    JIA M. COBB
                                                    United States District Judge




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                EXHIBIT A
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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 DC CENTER FOR INDEPENDENT
 LIVING, et al.,

          Plaintiffs,

          v.                                         Civil Action No. 1:22-cv-03541-JMC

 DISTRICT OF COLUMBIA, et al.,

          Defendants.


                        ACKNOWLEDGEMENT OF CONFIDENTIALITY

         I understand that confidential documents, testimony, and/or information may be revealed

to me for purposes of the above-captioned lawsuit. I have been advised that, by agreement of the

Parties to the lawsuit and as ordered by the Court, such documents, testimony and/or information

may not be used for any purposes other than the prosecution or defense of the lawsuit. By

executing this acknowledgement, I certify that I have read the Protective Order entered by the

Court and agree to maintain the confidentiality of any documents, testimony and/or information

provided to me and otherwise abide by the terms of the Protective Order. I have been advised

that any unauthorized use or disclosure by me of any confidential documents, testimony and/or

information will be treated as a breach of the Protective Order for which I may be liable for

damages and subject to sanction by the Court, and I agree to subject myself to the jurisdiction of

the Court for purposes of enforcement of the terms of the Protective Order.



 Date:                                          Print Name:

                                                Signature:
